Case 3:23-cv-01041-TJC-MCR Document 22 Filed 10/16/23 Page 1 of 6 PageID 89




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

 WHITNEY PHILLIPS AND IAN PHILLIPS,

            Plaintiffs,
                                                                     CASE NO.: 3:23-cv-01041-TJC-MCR
 v.

 ASHLEY GRAYSON AND DIGITAL COURSE
 RECIPE,

            Defendants.

___________________________________________/

                          MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

           COMES NOW, Defendants ASHLEY GRAYSON and DIGITAL COURSE RECIPE,

(hereinafter referred to as “Defendants”), by and through the undersigned Counsel and pursuant

to FRCP 12(b)(2) and 28 USC § 1332 and hereby files this Motion to Dismiss Plaintiffs’

Complaint for lack of personal jurisdiction and subject matter jurisdiction and in support thereof

states as follows:


      1.   Plaintiffs Whiteney Phillips and Ian Phillips filed a one count complaint against

           Defendants Ashely Grayshon and Digital Course Recipe for alleged Negligence in

           publishing a “success story” on a closed online forum that required membership to view.

      2. Plaintiffs are the clients of the Defendant Ashley Grayson’s business Digital Course

           Recipe.

      3. The Defendants were given permission to make the post Plaintiffs are complaining about

           and the post did not contain either Plaintiffs’ social security number.



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Case 3:23-cv-01041-TJC-MCR Document 22 Filed 10/16/23 Page 2 of 6 PageID 90




   4. The Plaintiff Whitney Philips sent text messages and emails to Ashley Grayson

       consenting to the publication of Plaintiff Whitney Phillips’ “success story.”

   5. The text messages and emails regarding the consent and content of the “success story”

       were received by Defendants in Concord, North Carolina where Defendant Ashley

       Grayson resides and runs her business Digital Course Recipe


                                    MEMORANDUM OF LAW

                                      As to Personal Jurisdiction

       A defendant has an unqualified right to have an order entered granting a motion to

dismiss when the court has no jurisdiction over the defendant. Read v. Ulmer, C.A.5 (La.) 1962,

308 F.2d 915.    As general rule, motion to dismiss for lack of personal jurisdiction should be

denied if complaint alleges sufficient facts to support reasonable inference that defendant could

be subjected to jurisdiction of court. Cable News Network, Inc. v. Video Monitoring Services

of America, Inc., N.D.Ga.1989, 723 F.Supp. 765.                Granting of motion to dismiss due to lack of

personal jurisdiction over nonresident defendant is dispositive in nature; therefore, it is

necessary to afford nonmoving party the most favorable construction, but that does not relieve

nonmoving party of burdens of pleading, production or going forward. Baltimore and Ohio R.

Co. v. Mobile Tank Car Services, N.D.Ohio 1987, 673 F.Supp. 1436.

       “The procedural scheme which guides the district court in disposing of Rule

12(b)(2) motions is well-settled.” Theunissen v. Matthews, 935 F.2d 1454, 1458 (6th Cir.1991).

The plaintiff bears the burden of establishing the court's personal jurisdiction over the

defendants. Id.; CompuServe, Inc. v. Patterson, 89 F.3d 1257, 1262 (6th Cir.1996). A plaintiff



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Case 3:23-cv-01041-TJC-MCR Document 22 Filed 10/16/23 Page 3 of 6 PageID 91




may not stand on its pleadings alone to meet this burden; he or she must “set forth specific facts

showing that the court has jurisdiction.” Theunissen, 935 F.2d at 1458.

        “Presented with a properly supported 12(b)(2) motion and opposition, the court has three

procedural alternatives: it may decide the motion upon the affidavits alone; it may permit

discovery in aid of deciding the motion; or it may conduct an evidentiary hearing to resolve any

apparent factual questions.” Theunissen, 935 F.2d at 1458 (citing Serras v. First Tennessee Bank

Nat'l Ass'n, 875 F.2d 1212, 1214 (6th Cir.1989)). The method selected is left to the discretion of

the district court. Id.

        A court, in determining whether it can exercise personal jurisdiction over a nonresident

defendant based on the defendant's online presence, “look[s] to the ‘nature and quality of

commercial activity that an entity conducts over the Internet.’ ” Mink, 190 F.3d at

336 (quoting Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F.Supp. 1119, 1124 (W.D.Pa.1997)).

To structure this inquiry, courts frequently draw on the test set forth in Zippo, which

“categorized Internet use into a spectrum of three areas” as follows:

At one end of the spectrum, there are situations where a defendant clearly does business over the

Internet by entering into contracts with residents of other states which “involve the knowing and

repeated transmission of computer files over the Internet....” In this situation, personal

jurisdiction is proper. At the other end of the spectrum, there are situations where a defendant

merely establishes a passive website that does nothing more than advertise on the Internet. With

passive websites, personal jurisdiction is not appropriate. In the middle of the spectrum, there are

situations where a defendant has a website that allows a user to exchange information with a host

computer. In this middle ground, “the exercise of jurisdiction is determined by the level of

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Case 3:23-cv-01041-TJC-MCR Document 22 Filed 10/16/23 Page 4 of 6 PageID 92




interactivity and commercial nature of the exchange of information that occurs on the Website.”

721 Bourbon, Inc. v. House of Auth, LLC 140 F. Supp 3d 586 (E.D.L.A. 2017).

                           As to 28 USC § 1332 Subject Matter Jurisdiction

       In opining on the threshold requirements of Diversity Jurisdiction imposed by 28 USC §

1332, the Federal Courts have stated, this section was to reduce congestion in federal district

courts partially caused by large number of civil cases being brought under long-standing $3,000

jurisdictional rule. Horton v. Liberty Mut. Ins. Co., U.S.Tex.1961, 81 S.Ct. 1570, 367 U.S. 348,

6 L.Ed.2d 890, rehearing denied 82 S.Ct. 24, 368 U.S. 870, 7 L.Ed.2d 70.

       Congress intended drastically to restrict federal jurisdiction in diversity cases. Breault v.

Feigenholtz, C.A.7 (Ill.) 1967, 380 F.2d 90, certiorari denied 88 S.Ct. 591, 389 U.S. 1014, 19

L.Ed.2d 660. In raising jurisdictional amount in federal diversity action from $3,000 to $10,000,

Congress intended to relieve federal courts of litigation of relatively minor importance. Gauldin

v. Virginia Winn-Dixie, Inc., C.A.4 (Va.) 1966, 370 F.2d 167.

       In setting jurisdictional amount at $10,000, it was intention of Congress to remove from

federal courts claims which were insubstantial in character and which contributed to mounting

backlogs of courts. Suarez v. Lufthansa Airlines, D.C.Puerto Rico 1971, 337 F.Supp. 60. It was

intention of Congress in raising requisite jurisdictional amount in diversity of citizenship cases,

to remove from federal courts claims insubstantial in character which contributed to the

mounting backlogs in such courts. Brown v. Bodak, S.D.N.Y.1960, 188 F.Supp. 532. The

purpose of making the amount in controversy in a case determinative of federal court jurisdiction

has been to prevent the dockets of federal courts from being overcrowded with small cases which

should be brought in state courts which are fully equipped to decide such cases. Lorraine

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Case 3:23-cv-01041-TJC-MCR Document 22 Filed 10/16/23 Page 5 of 6 PageID 93




Motors, Inc. v. Aetna Cas & Sur. Co., E.D.N.Y.1958, 166 F.Supp. 319. In continuing the theme

of limiting the jurisdiction of the Federal Court above minor disputes between citizens of

different states, the Congress raised the jurisdictional limit for diversity of citizenship cases to

$75,000.00 in 1996. See 28 USC 1332 (2023).

                                                  ANALYSIS

       In the case at bar, neither Defendant maintains any minimum contacts with the Middle

District of Florida for this Court to exercise contacts based general jurisdiction. The alleged

tortious act occurred in Concord, North Carolina, and the Defendants deny that the Plaintiff did

not consent to the “success story” being published. The “success story” did not contain any

confidential information and did not contain either Plaintiffs’ social security number.

       The website Plaintiffs complaint of contained mere passive advertisements and thus

Defendants can not be subject to the jurisdiction of this Court under the Zippo sliding scale. This

is evidenced by the Plaintiffs messaging Defendants by text messages and emails rather than

interacting on the online forum.

       While this Case must be dismissed for lack of personal jurisdiction, this case must also be

dismissed for lack of subject matter jurisdiction. The Plaintiffs are suing Defendants for a

common law tort Negligence. The Plaintiffs have claimed to have suffered $2,000,000.00 in

losses, however to meet the jurisdictional threshold of $75,000.00 required by 28 USC §1332,

the Plaintiff must demonstrate actual losses of above $75,000.00.

       Here, the Plaintiffs’ have not pled the basis for ANY actual monetary loss let alone

$2,000,000.00. The Plaintiffs have not pled any facts as to how the losses were calculated or

how any loss was incurred. All of Plaintiffs’ damages are speculative at best. Therefore,

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Case 3:23-cv-01041-TJC-MCR Document 22 Filed 10/16/23 Page 6 of 6 PageID 94




pursuant to 28 USC §1332, the case must be dismissed for failure to plead facts showing their

case has met the $75,000.00 threshold . Thus failed to invoke the jurisdiction of this Court.

       WHEREFORE, Defendants ASHLEY GRAYSON and DITIGAL COURSE RECIPE

respectfully request this Honorable Court enter an Order granting this Motion Dismissing

Plaintiff’s Complaint and grant any further relief this Court deems appropriate.


                                  CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that on this 16th day of October, 2023, pursuant to Federal Rule

of Civil Procedure 5, the foregoing was electronically filed with the Clerk of Court via Florida’s

e-Portal.



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